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      VIA ECF
      I{on. Peggy Kuo
      United States Magistrate Judge
      Unitecl States District Court, Eastern District of New York
      225 Cadnan Plaza East
      Brooklyn, New York 11201

                  Re        Miller, et ø1. v. Arab Bank, PLC,I8-cv-2192 (BMCXPK)
                            Pam, et al. v, At'ab Bank, PLC,l8-cv-4670 (BMCXPK)

                             Requested          on of Deadline f'or Interroga torv Resþonses

       Dear Judge Kuo:

                We write on behalf of all Plaintifli in the above-referenced matters to request an extension
       of the August 23,2019 deadline set forth in Your Honor's Scheduling Order of Jr"rly 8,2019 for
       service ofr"rponr.s to interrogatories. This is the first request for an extension of this deadline.
       The reason for the requested extension is that there are 14 interrogatories directed to more than 60
       plaintifl's in these matters, a significant number of whom reside in Israel, and tl-rere is insufficient
       iirne u¡der the current framework to properly prepare and serve substantive individual responses
       on their behalves, Plaintiff-s therefore recluest that interrogatory responses be served on a rolling
       basis comrlencing on September 23,2019 and continuing through November 22,2019 (which
       allows us to take into consideration the upcoming Jewish holidays).

               In addition, Defèndant proposed and PlaintifÏs agreed that PlaintifTs would serve their
       objectio¡s to the interrogatories no later than September 3,2019 so the meet and confer process
       .un -ou. lòrward on both the interrogatories and the document request responses (which will be
       served as scheduled on August 23, 2019) in parallel with Plaintiffs' counsel conferring on an
       ongoing basis with the individual Plaintiffs to prepare interrogatory responses.
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 l(ohn, Swift & Graf, P.C.               Continuation Sheet No, 2                             Hon. Peggy Kuo
                                                                                              August 22,20t9




          Counsel for the Defendant have advisecl us that they do not oppose the foregoing proposals

          We thank the Court for its consideration.


                                                                    Respectfully submitted,




                                                                    Steven M. Steingard


 cc:      All Counsel
